                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DERRICK ALLEN,                           )
                                         )
                     Plaintiff,          )
                                         )
          v.                             )        1:19CV1225
                                         )
DOMINO’S PIZZA, et al.,                  )
                                         )
                     Defendants.         )


                                    ORDER

       The Recommendation of the United States Magistrate Judge was

filed with the court in accordance with 28 U.S.C. § 636(b) and, on

September 22, 2021, was served on the parties in this action.

(Docs. 9, 10.)        Plaintiff objected to the Recommendation.         (Doc.

11.)

       The court has appropriately reviewed the portions of the

Magistrate Judge’s report to which objections were made and has

made a de novo determination in accord with the Magistrate Judge’s

report.        The   court   therefore   adopts    the   Magistrate   Judge’s

Recommendation.

       IT IS THEREFORE ORDERED that this action is dismissed pursuant

to 28 U.S.C. § 1915(e)(2)(B)(ii).



                                                /s/   Thomas D. Schroeder
                                             United States District Judge

September 29, 2021




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